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  IT IS ORDERED as set forth below:



  Date: February 17, 2021
                                                     ________________________________
                                                                 Paul Baisier
                                                         U.S. Bankruptcy Court Judge

  _______________________________________________________________



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION
In re:                                           |
                                                 |   CHAPTER 11
AREU STUDIOS, LLC,                               |
                                                 |   CASE NO. 20-71228-PMB
         Debtor.                                 |
               ORDER AND NOTICE RESCHEDULING WEBEX HEARING
               AND EXTENDING BALLOT AND OBJECTION DEADLINES
          On December 11, 2020, Areu Studios, LLC (the “Debtor”), filed an Amended Disclosure

Statement for Amended Plan of Reorganization (the “Disclosure Statement”)(Docket No. 43) and

an Amended Plan of Reorganization (the “Plan”)(Docket No. 44). The Disclosure Statement and

Plan came before the Court for a telephonic hearing on December 14, 2020. On December 16,

2020, the Court entered an Order and Notice (A) Conditionally Approving Debtor’s Disclosure

Statement for Plan of Reorganization, (B) Establishing Balloting and Objection Deadlines, and

(C) Scheduling Confirmation Hearing and Final Hearing on Disclosure Statement (the

“Order”)(Docket No. 47), scheduling a hearing on the Disclosure Statement and Plan for January

19, 2021. The Order also set a deadline of January 15, 2021 for filing written objections to the

Disclosure Statement and Plan, as well as the deadline for casting ballots to accept or reject the
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Plan. On December 22, 2020, the Court entered an Order and Notice Scheduling WebEx

Confirmation Hearing (the “Hearing”)(Docket No. 50). On January 11, 2021, Debtor’s counsel

filed a Motion Requesting Continuance of Confirmation Hearing (Docket No. 55). On January 14,

2021, the Court entered an Order and Notice Rescheduling WebEx Hearing and Extending Ballot

and Objection Deadlines (the “Rescheduling Order”)(Docket No. 57), rescheduling the Hearing

on the Disclosure Statement and Plan for February 23, 2021. The Rescheduling Order also set a

deadline of February 18, 2021 for filing written objections to the Disclosure Statement and Plan,

as well as the deadline for casting ballots to accept or reject the Plan.

           On February 5, 2021, Debtor’s counsel filed a Second Amended Plan of Reorganization

(the “Amended Plan”)(Docket No. 71). On February 15, 2021, Debtor’s counsel filed a Second

Motion for Continuance of Confirmation Hearing (the “Motion”)(Docket No. 77).                                   After

reviewing the matters, it is hereby

           ORDERED that the Motion is GRANTED and it is further

           ORDERED           AND       NOTICE         IS    HEREBY          GIVEN         that   the    Hearing    is

RESCHEDULED, and the Court will hold the Hearing regarding the Disclosure Statement and

Amended Plan and any response thereto on the 11th day of March, 2021, commencing at 11:30

A.M. via WebEx video conference. It is further

           ORDERED that all creditors and parties in interest that desire to present evidence or make

argument at the Hearing (the “Parties”) 1 will participate in a WebEx practice session conducted

by the Court, which session will be attended by counsel for all such Parties and by all witnesses




1
    Parties should contact Chambers at (404) 215-1010 to coordinate their attendance at the practice session.


                                                            2
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on March 3, 2021 at 1:30 P.M. or on such other date and time as the Court may direct 2. It is

further

          ORDERED that the Parties shall be required to file, no later than 12:00 P.M. on March

5, 2021 (i) an electronic copy of each exhibit that such Party intends to use at the Hearing 3 (assuring

each document can be accessed separately), and (ii) a list of witnesses that such Party intends to

call at the Hearing. 4 Parties are also required to e-mail a full set of exhibits to Judge Baisier’s

Chambers, as well as to the other Parties. And it is further

          ORDERED that if a Party becomes aware, after the deadline above, of other exhibits such

Party intends to use at the Hearing, such Party shall inform the Court and the other Parties as soon

as such Party is aware of such exhibits. Such Party will also be required to file an electronic copy

of any additional exhibits on the docket in this case (assuring each document can be accessed

separately). The Court will consider the circumstances and determine whether and for what

purposes (if any) the Party can use the new exhibits. And it is further

          ORDERED that if a Party becomes aware, after the deadline above, of other witnesses

such Party intends to call at the Hearing, such Party shall inform the Court and the other Parties as

soon as such Party is aware of such witness(es). The Court will consider the circumstances and

decide whether and for what purposes (if any) the Party may call such witness(es). And it is further




2
 Creditors, parties in interest, and their counsel (“Non-participants”), who only wish to listen to the Hearing do not
need to attend the practice session and will be able to attend the Hearing by telephone. Non-participants should contact
Chambers at (404) 215-1010 for a dial-in number.
3
 Exhibits shall include the following: (i) a master list of exhibits and (ii) a complete set of labeled exhibits. All exhibits
shall be identified by letters (e.g., Exhibit A, B, C, etc.), or numbers (e.g., Exhibit 1, 2, 3, etc.).
4
  Inclusion of a name on a witness list simply informs all parties that you may call the witness, and does not in any
respect compel or otherwise require the attendance of that witness at the Hearing, which must be arranged or compelled
by other available means.


                                                              3
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         ORDERED that the Parties shall endeavor in good faith to agree prior to the Hearing to a

stipulation of exhibits to be admitted. 5 And it is further

         ORDERED that the deadline for filing written objections to the Amended Plan is hereby

extended to March 10, 2021 6, with the Clerk, U.S. Bankruptcy Court, Room 1340, U.S.

Courthouse (Richard B. Russell Building), 75 Ted Turner Drive., Atlanta, Georgia 30303, and a

copy shall be served on counsel for the Debtor, Jones & Walden LLC, 699 Piedmont Ave NE,

Atlanta, Georgia 30308, Attn: Cameron M. McCord so that is it received by counsel for Debtor

by 11:59:59 PM on the 10th day of March, 2021. It is further

         ORDERED the deadline for casting ballots to accept or reject the Amended Plan is

hereby extended to March 10, 2021. Ballots shall be filed with the Clerk, U.S. Bankruptcy

Court, Room 1340, U.S. Courthouse (Richard B. Russell Building), 75 Ted Turner Drive,

Atlanta, Georgia 30303 with a copy served on counsel for Debtor, Jones & Walden LLC, 699

Piedmont Ave NE, Atlanta, Georgia 30308, Attn: Cameron M. McCord so that is it received by

counsel for Debtor by 11:59:59 PM on the 10th day of March, 2021.

         ORDERED that Debtor’s Counsel shall, on or before February 18, 2021, serve a copy of

this Order and Notice Rescheduling WebEx Hearing on all creditors listed on the mailing matrix

and any parties that have filed a notice of appearance in this case, and on the United States Trustee.

Debtor’s Counsel is further directed to file a certificate of service setting forth the manner and

method of all such service prior to the Hearing.

                                          [END OF DOCUMENT]




5
 Even if an exhibit is admitted by stipulation, unless a witness testifies as to that exhibit so that the Court can
understand what the exhibit is and how it is relevant, such exhibit may not be reviewed or considered by the Court.
6
 The deadline for filing written objections electronically through the Court’s electronic case filing system shall be
11:59:59 p.m. The deadline for filing written objections manually with the Clerk’s office shall be 4:00 p.m.

                                                         4
